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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


    ALAN RACKEMANN,                                    )
                                                       )
                                 Plaintiff,            )
                                                       )
                         vs.                           )      No. 1:17-cv-00624-TWP-MJD
                                                       )
    LISNR, INC.,                                       )
    ADEPT MOBILE, LLC,                                 )
    INDIANAPOLIS COLTS, INC.,                          )
                                                       )
                                 Defendants.           )


                       MINUTE ENTRY FOR NOVEMBER 16, 2017
                               STATUS CONFERENCE
                     HON. MARK J. DINSMORE, MAGISTRATE JUDGE


         The parties appeared by telephone for a Status Conference. The parties discussed the

  status of and future plans for discovery.

         The Court and parties discussed Defendants’ Motion for Fees Pursuant to October 31,

  2017 Order on Motion to Compel [Dkt. 168]; the Court, sua sponte, enlarges the time for

  Plaintiff to respond to the motion to and including December 20, 2017, and for Defendants to

  file any reply in support of the motion to and including January 12, 2018.

         Plaintiff reported serving an expert report in compliance with paragraph III(G) of the

  approved Case Management Plan as amended [Dkt. 149 at 1]; Defendants did not serve any

  expert reports pursuant to that paragraph. With the agreement of the parties, Defendants shall

  serve any rebuttal expert reports so that they are received by counsel for Plaintiff on or before

  December 13, 2017. Such reports shall be limited to rebutting the opinions set forth in

  Plaintiff’s expert report. In order to minimize any delay to the current schedule, the Court
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  requested that the parties work together to schedule the depositions of Defendants’ rebuttal

  experts in advance of their disclosure so that those depositions may be completed at the earliest

  reasonable opportunity following the disclosure (preferably on or before December 22, 2017),

  with the understanding that Plaintiff may cancel such deposition(s) after the rebuttal expert’s

  disclosures have been made and reviewed.

         Plaintiff orally moved for a one week enlargement of time to respond to Defendant

  LISNR, Inc.’s counterclaim [Dkt. 166]; without objection, the Court GRANTS Plaintiff’s

  motion and the time for Plaintiff to respond to Defendant LISNR, Inc.’s counterclaim is hereby

  enlarged to and including December 11, 2017.

         In light of the scheduling changes set forth herein, the Court instructed the parties to

  confer regarding the deadlines set forth in paragraph IV(C) of the approved Case Management

  Plan as amended [Dkt. 149 at 1-2], and to file a motion to amend those deadlines as necessary.

         This matter is scheduled for a telephonic status conference on Thursday, December 14,

  2017 at 3:40 p.m. (Eastern) to discuss case status. Counsel shall attend the status conference by

  calling the designated telephone number, to be provided by the Court via email generated by the

  Court’s ECF system.

         SO ORDERED.



         Dated: 16 NOV 2017




  Distribution:

  Service will be made electronically
  on all ECF-registered counsel of record via
  email generated by the court’s ECF system.
